      Case 2:17-cr-00738-R Document 45 Filed 07/09/18 Page 1 of 6 Page ID #:266

                                        United States District Court
                                       Central District of California

UNITED STATES OF AMERICA vs.                                                                                       CR-17-738-R
Defendant: THERESA LYNN TETLEY                                                                               S.S.#-------3866
            AKA: Theresas Tetley;
                 Bitcoin Maven; Theresa Eltman

----------------------------------------------------------------------
                             JUDGMENT AND PROBATION/COMMITMENT ORDER
----------------------------------------------------------------------

     In the presence of the attorney for the government, the defendant
appeared in person, on:      July 9, 2018
                          Month / Day / Year

COUNSEL: XX                WITH COUNSEL                   Brian E. Klein, retained

 X PLEA:
       X GUILTY, and the Court being satisfied that there is a factual
basis for the plea.
          NOLO CONTENDERE                NOT GUILTY

FINDING:
     There being a FINDING of X GUILTY, defendant has been convicted
as charged of the offense(s) of: O p e r a t i n g an Unlic e n s e d M o n e y
Transmitting Business, in violation of 18 U.S.C. §§ 1960(a), (b)(1)(B),
as charged in count one of the Information; Laundering of Monetary
Instruments, in violation of 18 U.S.C. § 1956(a)(3)(B), as charged in
count two of the Information.

JUDGMENT AND PROBATION/COMMITMENT ORDER:
          The Court asked whether defendant had anything to say why judgment should not be pronounced. Because no sufficient cause to the
contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that: Pursuant to
the Sentencing Reform Act of 1984, it is the judgement of the court the defendant is hereby committed to the Bureau of Prisons to be imprisoned
for a term of:


     Twelve (12) months and one day on counts one and two of the two-
count Information. This term consists of twelve months and one day on
each of counts one and two of the two-count Information, to be served
concurrently.

     Upon release from imprisonment, the defendant shall be placed on
supervised release for a term of two years. This term consists of two
years on each of counts 1 and 2 of the 2-count information, all such
terms to run concurrently under the following terms and conditions:

1.        The defendant shall comply with the rules and regulations of the
          United States Probation Office, General Order 05-02, and General
          Order 01-05, including the three special conditions delineated in
          General Order 01-05.

2.        During the period of community supervision, the defendant shall
          pay the special assessment and fine in accordance with this
          judgment's orders pertaining to such payment.

-- GO TO PAGE TWO --                                                                                           _____CCH______
                                                                                                                Deputy Clerk
     Case 2:17-cr-00738-R Document 45 Filed 07/09/18 Page 2 of 6 Page ID #:267
U.S.A. V. THERESA LYNN TETLEY                  CR-17-738-R
-- CONTINUED FROM PAGE ONE --                     PAGE TWO
===========================================================
          JUDGMENT AND PROBATION/COMMITMENT ORDER
===========================================================
3.     The defendant shall not engage, as whole or partial owner,
       employee, consultant, volunteer, or otherwise, in any business
       involving money services business, without the express approval of
       the Probation Officer prior to engaging in such employment, and
       notification to the employer of this conviction. Further, the
       defendant shall provide the Probation Officer with access to any
       and all business records, client lists, and other records
       pertaining to the operation of any business owned, in whole or in
       part, by the defendant, as directed by the Probation Officer

4.     The defendant shall not be employed in any position that requires
       licensing and/or certification by any local, state, or federal
       agency without the prior written approval of the Probation
       Officer.

5.     The defendant shall apply all monies received from income tax
       refunds to the outstanding Court-ordered financial obligation. In
       addition, the defendant shall apply all monies received from
       lottery winnings, inheritance, judgments and any anticipated or
       unexpected financial gains to the outstanding Court-ordered
       financial obligation.

6.     The defendant shall cooperate in the collection of a DNA sample
       from the defendant.

     IT IS FURTHER ORDERED that the drug testing condition mandated by
statute is suspended based on the Court's determination that the
defendant poses a low risk of future substance abuse.

     IT IS FURTHER ORDERED that the defendant shall pay to the United
States a special assessment of $200, which is due immediately. Any
unpaid balance shall be due during the period of imprisonment, at the
rate of not less than $25 per quarter, and pursuant to the Bureau of
Prisons' Inmate Financial Responsibility Program.

     IT IS FURTHER ORDERED that the defendant shall pay to the United
States a total fine of $ 20,000, consisting of the following: Count 1,
a fine of $10,000; and Count 2, a fine of $10,000. The total fine shall
bear interest as provided by law.

     IT IS FURTHER ORDERED that the fine shall be paid in full no later
than 60 days after sentencing.

     IT IS FURTHER ORDERED that the defendant shall comply with General
Order No. 01-05.

     The Court has entered a money judgment of forfeiture against the
defendant, which is hereby incorporated by reference into this judgment
and is final.

-- GO TO PAGE THREE --                                           _____CCH______
                                                                  Deputy Clerk
    Case 2:17-cr-00738-R Document 45 Filed 07/09/18 Page 3 of 6 Page ID #:268
U.S.A. V. THERESA LYNN TETLEY                   CR-17-738-R
-- CONTINUED FROM PAGE TWO --                     PAGE THREE
===========================================================
          JUDGMENT AND PROBATION/COMMITMENT ORDER
===========================================================
     IT IS FURTHER ORDERED that the defendant surrender herself to the
institution designated by the Bureau of Prisons at or before 10 AM of
August 15, 2018. In the absence of such designation, the defendant
shall report on or before the same date and time, to the United States
Marshal located at the Roybal Federal Building, 255 East Temple Street,
Los Angeles, California 90012.

     IT IS RECOMMENDED that the defendant shall be designated at an
institution located in Southern California.




Signed by:                                  District Judge
                                                                       MANUEL L. REAL
                                                                       Kiry Gray, Clerk of Court
Dated/Filed: July 9, 2018                                         By    /s/ Christine Chung
             Month / Day / Year                                        Christine Chung, Deputy Clerk



In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of
Probation and Supervised Release within this judgment be imposed. The Court may change the conditions of
supervision, reduce or extend the period of supervision, and at any time during the supervision period or within the
maximum period permitted by law, may issue a warrant and revoke supervision for a violation occurring during the
supervision period.




The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

                  STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                  While the defendant is on probation or supervised release pursuant to this judgment:
         Case 2:17-cr-00738-R Document 45 Filed 07/09/18 Page 4 of 6 Page ID #:269

    1.   The defendant shall not commit another                                    10.   the defendant shall not associate with any
         Federal, state or local crime;                                                  persons engaged in criminal activity, and shall
    2.   the defendant shall not leave the judicial district                             not associate with any person convicted of a
         without the written permission of the court or                                  felony unless granted permission to do so by the
         probation officer;                                                              probation officer;
    3.   the defendant shall report to the probation                               11.   the defendant shall permit a probation officer to
         officer as directed by the court or probation                                   visit him or her at any time at home or
         officer and shall submit a truthful and complete                                elsewhere and shall permit confiscation of any
         written report within the first five days of each                               contraband observed in plain view by the
         month;                                                                          probation officer;
    4.   the defendant shall answer truthfully all                                 12.   the defendant shall notify the probation officer
         inquiries by the probation officer and follow the                               within 72 hours of being arrested or questioned
         instructions of the probation officer;                                          by a law enforcement officer;
    5.   the defendant shall support his or her                                    13.   the defendant shall not enter into any agreement
         dependents and meet other family                                                to act as an informer or a special agent of a law
         responsibilities;                                                               enforcement agency without the permission of
    6.   the defendant shall work regularly at a lawful                                  the court;
         occupation unless excused by the probation                                14.   as directed by the probation officer, the
         officer for schooling, training, or other                                       defendant shall notify third parties of risks that
         acceptable reasons;                                                             may be occasioned by the defendant’s criminal
    7.   the defendant shall notify the probation officer                                record or personal history or characteristics, and
         at least 10 days prior to any change in residence                               shall permit the probation officer to make such
         or employment;                                                                  notifications and to conform the defendant’s
    8.   the defendant shall refrain from excessive use of                               compliance with such notification requirement;
         alcohol and shall not purchase, possess, use,                             15.   the defendant shall, upon release from any
         distribute, or administer any narcotic or other                                 period of custody, report to the probation officer
         controlled substance, or any paraphernalia                                      within 72 hours;
         related to such substances, except as prescribed                          16.   and, for felony cases only: not possess a firearm,
         by a physician;                                                                 destructive device, or any other dangerous
    9.   the defendant shall not frequent places where                                   weapon.
         controlled substances are illegally sold, used,
         distributed or administered;


X         The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth
          below).

        STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL
    SANCTIONS

             The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or
    unless the fine or restitution is paid in full before the fifteenth (15th) day after the date of the judgment pursuant to 18 U.S.C.
    §3612(f)(1). Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest and
    penalties pertaining to restitution , however, are not applicable for offenses completed prior to April 24, 1996.

             If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant
    shall pay the balance as directed by the United States Attorney’s Office. 18 U.S.C. §3613.

            The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s
    mailing address or residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C.
    §3612(b)(1)(F).

              The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any
    material change in the defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or
    restitution, as required by 18 U.S.C. §3664(k). The Court may also accept such notification from the government or the
    victim, and may, on its own motion or that of a party or the victim, adjust the manner of payment of a fine or restitution-
    pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3) and for probation 18 U.S.C. §3563(a)(7).

             Payments shall be applied in the following order:

                        1. Special assessments pursuant to 18 U.S.C. §3013;
                        2. Restitution, in this sequence:
                                  Private victims (individual and corporate),
                                  Providers of compensation to private victims,
                                  The United States as victim;
                        3. Fine;
                        4. Community restitution, pursuant to 18 U.S.C. §3663(c); and
                        5. Other penalties and costs.
         Case 2:17-cr-00738-R Document 45 Filed 07/09/18 Page 5 of 6 Page ID #:270


                        SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE

              As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release
     authorizing credit report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure
     and (3) an accurate financial statement, with supporting documentation as to all assets, income and expenses of the defendant.
     In addition, the defendant shall not apply for any loan or open any line of credit without prior approval of the Probation
     Officer.

               The defendant shall maintain one personal checking account. All of defendant’s income, “monetary gains,” or other
     pecuniary proceeds shall be deposited into this account, which shall be used for payment of all personal expenses. Records
     of all other bank accounts, including any business accounts, shall be disclosed to the Probation Officer upon request.

              The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess
     of $500 without approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied
     in full.

                           These conditions are in addition to any other conditions imposed by this judgment.




                                                               RETURN

     I have executed the within Judgment and Commitment as follows:
     Defendant delivered                                                              to
     on
     Defendant noted on
     appeal on
     Defendant released
     on
     Mandate issued on
     Defendant’s appeal
     determined on
     Defendant delivered                                                              to
     on
at
         the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                         United States Marshal

                                                B
                                                y
              Date                                                       Deputy Marshal




                                                            CERTIFICATE

     I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in
     my office, and in my legal custody.
     Case 2:17-cr-00738-R Document 45 Filed 07/09/18 Page 6 of 6 Page ID #:271

                                                                  Clerk, U.S. District Court

                                           B
                                           y
          Filed                                                   Deputy Clerk
          Date




                                      FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2)
extend the term of supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


         (Signed)
                    Defendant                                                     Date




                    U. S. Probation Officer/Designated Witness                    Date
